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 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                          )   Case No.1:15-cr-00170 LJO-SKO
                                                      )
11                  Plaintiff,                        )   AMENDED STIPULATION FOR
                                                      )   MODIFICATION OF CONDITIONS OF
12          v.                                        )   PRETRIAL RELEASE;
                                                      )
13 SYDNEY ALLEN,                                      )
                                                      )
14                  Defendant.                        )
                                                      )
15
                                              STIPULATION
16

17          For the reasons stated in the declaration of counsel attached to the original Stipulation For
     Modification Of Pretrial Release, filed by Council on February 4, 2016, (Document No. 42),
18
     defendant SIDNEY ALLEN by and through his counsel of record, Mr. Salvatore Sciandra, and
19
     Plaintiff, United States of America, by and through its counsel of record, AUSA Kimberly
20
     Sanchez, hereby stipulate to, and request that this Court adopt the request of the parties that the
21 previously imposed pretrial release order that defendant ALLEN participate in a program of

22 electronic monitoring be modified as follows:

23          Defendant Allen shall participate in the following location monitoring program component

24 and abide by all the requirements of the program, which will include having a location monitoring
   unit installed in your residence and a radio frequency transmitter device attached to your person.
25
   You shall comply with all instructions for the use and operation of said devices as given to you by
26
   the Pretrial Services Agency and employees of the monitoring company you shall pay all or part of
27 the costs of the program based upon your ability to pay as determined by the pretrial services

28 officer; CURFEW: You are restricted to your residence every day from 9:00 PM to 6:00 AM or as
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     adjusted by the pretrial services officer for medical, religious services, employment or court-
 1
     ordered obligations.
 2          All other conditions of release, not in conflict, shall remain in full force and effect.
 3                                                         Respectfully submitted,
 4 IT IS SO STIPULATED

 5 Dated: February 8, 2016                                 /s/ Salvatore Sciandra
                                                           SALVATORE SCIANDRA
 6                                                         Attorney for Defendant,
 7                                                         SYDNEY ALLEN

 8 IT IS SO STIPULATED

 9 Dated February 8, 2016                                  BENJAMIN B. WAGNER
                                                           Attorney for Plaintiff
10                                                         UNITED STATES OF AMERICA
11
                                                     By: Approved by Email on 2/8/2016
12                                                        KIMBERLY SANCHEZ
                                                          Assistant United States Attorney
13

14                                                  ORDER
15
            The Court has reviewed and considered the stipulation of the parties to modify conditions of
16 pretrial release. IT IS ORDERED that: Sydney Allen shall participate in the following location

17 monitoring program component and abide by all the requirements of the program, which will

18 include having a location monitoring unit installed in your residence and a radio frequency

19 transmitter device attached to your person. You shall comply with all instructions for the use and
   operation of said devices as given to you by the Pretrial Services Agency and employees of the
20
   monitoring company you shall pay all or part of the costs of the program based upon your ability to
21
   pay as determined by the pretrial services officer; CURFEW: You are restricted to your residence
22 every day from 9:00 PM to 6:00 AM or as adjusted by the pretrial services officer for medical,

23 religious services, employment or court-ordered obligations.

24          All other conditions of release, not in conflict, shall remain in full force and effect.

25
     IT IS SO ORDERED.
26
27 Dated:      February 17, 2016                                   /s/ Sheila K. Oberto
                                                        UNITED STATES MAGISTRATE JUDGE
28

                                                                                                       2
